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 9
10                               UNITED STATES DISTRICT COURT
11                             EASTERN DISTRICT OF CALIFORNIA
12
13    UNITED STATES OF AMERICA,                  Case No: 2:14-CR-00045 MCE
14                        Plaintiff,             ORDER GRANTING DEFENDANT’S
15                                               MOTION FOR EARLY TERMINATION OF
               v.
                                                 SUPERVISED RELEASE
16    DAVID M. LEWIS,
17                        Defendant.             Judge: Hon. Morrison England
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              Before the Court is a Motion for Early Termination of Supervised Release,
22
     filed by Defendant David M. Lewis. (ECF No. 67); Assistant United States
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     Attorney Brian Fogerty filed a statement of non-opposition on behalf of the
24
     government (ECF No. 69).
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                    Order Granting Motion for Early Termination of Supervised Release
       Case 2:14-cr-00045-MCE Document 71 Filed 11/21/19 Page 2 of 2

 1   Having read and considered the Motion and supporting exhibits, and for good
 2   cause shown and pursuant to 18 U.S.C. § 3583(e), the Court hereby GRANTS
 3   Defendant Lewis’s Motion for Early Termination of Supervised Release; it is
 4   further Ordered that termination is to be effective as of November 15, 2019.
 5         IT IS SO ORDERED.
 6   Dated: November 19, 2019
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               Order Granting Motion for Early Termination of Supervised Release
